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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
14                                             LIMITED’S MOTION FOR ENTRY OF
           v.
                                               PROTECTIVE ORDER
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         [Filed Concurrently with [Proposed] Order]
16
                 Defendants.                   Date:    September 9, 2020
17                                             Time:    9:00 a.m.
                                               Ctrm:    3
18                                             Judge:   Hon. Phyllis J. Hamilton
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                                               Action Filed: 10/29/2019
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      DEFENDANTS’ MOTION FOR ENTRY OF                                Case No. 4:19-cv-07123-PJH
      PROTECTIVE ORDER
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 1                                         NOTICE OF MOTION
 2           TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that, on September 9, 2020 at 9:00 a.m., or as soon thereafter as
 4   the matter may be heard, Defendants NSO Group Technologies Limited (“NSO”) and Q Cyber
 5   Technologies Limited (“Q Cyber” and, collectively with NSO, “Defendants”) will bring on for
 6   hearing before the Honorable Phyllis J. Hamilton, Chief Judge for the United States District Court
 7   for the Northern District of California, Oakland Division, Courtroom 3, located at 1301 Clay
 8   Street, Oakland, California, this motion for entry of a protective order in the form attached hereto
 9   as Exhibit A.
10                                STATEMENT OF RELIEF SOUGHT
11           By this Motion, Defendants seek entry of a protective order in the form attached hereto as

12   Exhibit A (the “Proposed Protective Order”). Defendants have recently obtained information

13   Defendants’ counsel believes is of great importance to the Court and Plaintiffs’ outside counsel in

14   the orderly management of the case and the parties’ litigation of it. Unfortunately, unless there is

15   a protective order in place, Defendants cannot disclose this information without violating their

16   legal obligations. Although the parties have been (and are) attempting to reach agreement on a

17   stipulated protective order to submit to the Court, those negotiations have not led to a stipulation,

18   and some distance remains between the parties. Accordingly, Defendants ask the Court to enter

19   the Proposed Protective Order so that Defendants may share this information with the Court and

20   with Plaintiffs’ outside counsel.

21                                       POINTS AND AUTHORITIES

22           The undersigned counsel represents to the Court that Defendants are in possession of

23   information that is of considerable importance to the orderly administration of this case. (Akro.

24   Decl. ¶ 2.) 1 Unfortunately, Defendants and their counsel cannot disclose it to Plaintiffs’ outside

25   counsel without violating their legal obligations, unless there is an order in place that governs any

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     Citations to the “Akro. Decl.” refer to the Declaration of Joseph N. Akrotirianakis in Support of
28 this Motion and Defendants’ Motion to Shorten Deadlines for Motion for Entry of Protective
   Order, which is being filed simultaneously with this motion.
         DEFENDANTS’ MOTION FOR ENTRY OF                                        Case No. 4:19-cv-07123-PJH
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 1   disclosure. (Id.)

 2          For two weeks, Defendants have been working diligently with Plaintiffs to come to

 3   agreement on a stipulated protective order based on the Court’s Model Protective Order for

 4   Litigation Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets (the

 5   “Model Order”). (Akro. Decl. ¶ 3.) The parties, however, have been unable to reach agreement

 6   on a protective order. After a conference of counsel on July 21, 2020 regarding various discovery

 7   matters, Plaintiffs’ counsel sent Defendants’ counsel (at 4:48 p.m.) a draft protective order with

 8   substantial changes (additions and deletions) to the Model Order. (Akro. Decl. ¶ 4.) Defendants’

 9   counsel immediately began analyzing Plaintiffs’ draft and conferring with their clients (which are

10   located in Israel, ten time zones away). (Id.) Defendants’ counsel sent a revised draft back to

11   Plaintiffs’ counsel on July 24, 2020. (Id.) Defendants’ counsel then followed up with Plaintiffs’

12   counsel on July 28, July 29, and July 31, before receiving a new draft from Plaintiffs on July 31,

13   2020. (Id.) In Plaintiffs’ July 31, 2020 draft, Plaintiffs refused to accept most revisions proposed

14   by Defendants, including certain requests by Defendants to accept language from the Model Order

15   instead of modifications made by Plaintiffs. (Id.) In light of the parties’ positions and the fact that

16   it took seven days for Plaintiffs to respond to Defendants’ July 24, 2020, draft, Defendants’ counsel

17   believes that the parties will not be able to reach agreement quickly on a comprehensive protective

18   order. (Id.)

19          Accordingly, after receiving and analyzing Plaintiffs’ July 31, 2020, draft, and eager to

20   present this important new information to the Court and Plaintiffs’ outside counsel, Defendants

21   counsel suggested that the parties temporarily agree to the Model Order in full. (Akro. Decl. ¶ 5.)

22   Plaintiffs’ counsel refused. (Id.) In a further attempt to negotiate a resolution, Defendants’ counsel

23   suggested entering into a simplified protective order, to remain in effect until such time as the

24   parties could reach agreement on a more comprehensive order. (Akro. Decl. ¶ 6.) Defendants’

25   counsel prepared the Proposed Protective Order and sent it to Plaintiffs’ counsel on July 31, 2020.

26   (Id.) During a conference of counsel held at 2:30 p.m. on August 3, 2020, however, counsel for

27   Plaintiffs again refused to stipulate to its entry. (Akro. Decl. ¶ 7.)

28          Defendants will continue to work diligently with Plaintiffs to try to reach agreement on a
       DEFENDANTS’ MOTION FOR                           2                        Case No. 4:19-cv-07123-PJH
       ENTRY OF PROTECTIVE ORDER
         Case 4:19-cv-07123-PJH Document 114 Filed 08/03/20 Page 4 of 4




 1   more comprehensive Order that will supersede the attached Proposed Protective Order. In the

 2   interim, however, Defendants respectfully request that the Court approve the Proposed Protective

 3   Order to enable Defendants to disclose information that is of great importance to the orderly

 4   administration of this case. The attached Proposed Protective Order is based on the Model Order

 5   (except as noted with underscored text), without the sections that are not relevant to the immediate

 6   circumstances. (Akro. Decl. ¶ 6.) It includes the provisions necessary to allow Defendants’

 7 counsel to serve Plaintiffs with the information while seeking the Court’s leave to file it under seal.

 8 (Id.)
 9           For the foregoing reasons, Defendants respectfully request that the Court enter the

10   Proposed Protective Order immediately. 2

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12   DATED: August 3, 2020                             KING & SPALDING LLP
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                                                       By: /s/ Joseph N. Akrotirianakis _________
15                                                         JOSEPH N. AKROTIRIANAKIS
16                                                         AARON S. CRAIG
                                                           Attorneys for Defendants NSO GROUP
17                                                         TECHNOLOGIES LIMITED and Q
                                                           CYBER TECHNOLOGIES LIMITED
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       Given the urgency of this request, Defendants are simultaneously filing a motion to shorten the
26   deadlines relevant to this motion. In bringing these motions, Defendants do not concede that they
27   are subject to the personal jurisdiction of this Court and reserve all rights to contest personal
     jurisdiction. Defendants also do not concede that this Court has subject matter jurisdiction over
28   this proceeding and reserve all rights to contest subject matter jurisdiction.
         DEFENDANTS’ MOTION FOR                        3                        Case No. 4:19-cv-07123-PJH
         ENTRY OF PROTECTIVE ORDER
